       Case 2:19-cv-14666-SM-JVM Document 215 Filed 06/23/20 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 E.N. BISSO & SONS, INC.                              CIVIL ACTION NO. 2:19-CV-14666
                    Plaintiff,                                      C/W 2:20-CV-525

 VERSUS                                               REF: ALL CASES

 M/V DONNA J. BOUCHARD, ET AL.,                       SECTION “E” – DIVISION 1
                 Defendants.
                                                      JUDGE SUSIE MORGAN
                                                      MAGISTRATE JUDGE JANIS VAN
                                                      MEERVELD

       MOTION TO SUBSTITUTE COUNSEL OF RECORD FOR DEFENDANTS

       Defendants BOUCHARD TRANSPORTATION CO., INC., Tug DONNA J.

BOUCHARD Corp., and B. NO. 272 Corp. (collectively “Defendants”) move this Honorable

Court to substitute Joshua S. Force (# 21975), Kevin M. McGlone (# 28145), Tyler M. DeAgano

(# 38183), and Josie N. Serigne (# 38588), of the law firm of Sher Garner Cahill Richter Klein &

Hilbert, L.L.C., for Robert H. Murphy (# 9850), Peter B. Sloss (# 17142), and Timothy D. DePaula

(# 31699), of the law firm of Murphy, Rogers, Sloss, Gambel & Tompkins, as counsel of record

for Defendants in this litigation.

                                        Respectfully submitted,

                                        MURPHY, ROGERS, SLOSS,
                                         GAMBEL & TOMPKINS

                                         /s/ Robert H. Murphy
                                        Robert H. Murphy (# 9850)
                                        Peter B. Sloss (# 17142)
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Case 2:19-cv-14666-SM-JVM Document 215 Filed 06/23/20 Page 2 of 2



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                          ‒ and ‒


                           /s/ Joshua S. Force
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                          Attorneys for Tug DONNA J. BOUCHARD Corp., as
                          owner of the M/V DONNA J. BOUCHARD, in rem,
                          making a restricted appearance pursuant to Rule E(8) of
                          the Federal Rules of Civil Procedure; B. No. 272 Corp.,
                          as owner of the Barge B. No. 272, in rem, making a
                          restricted appearance pursuant to Rule E(8) of the
                          Federal Rules of Civil Procedure; and Bouchard
                          Transportation Co., Inc.




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